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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

 MCDONNELL CROWLEY, LLC
 115 Maple Avenue – Suite 201
 Red Bank, NJ 07701
 (732) 383-7233
 Brian T. Crowley
 bcrowley@mchfirm.com
 Counsel to John M. McDonnell, Chapter 7
 Trustee

 In re:                                                   Case No. 19-12556 (KCF)

 ELIA J. ZOIS and MARIANA ZOIS,                           Honorable Kathryn C. Ferguson

                         Debtors.                         Chapter 7



                 Recommended Local Form:                 Followed              Modified


                   CERTIFICATION OF PROFESSIONAL IN SUPPORT OF
                   APPLICATION FOR RETENTION OF PROFESSIONAL

          I, Jeffrey D. Vanacore, Esq., being of full age, certify as follows:


          1.     I am seeking authorization to be retained as Special Counsel to the chapter 7
                 Trustee to render legal services in connection with a review, analysis and
                 prosecution of various claims and causes of action seeking the return of certain
                 preferential, fraudulent conveyances arising under chapter 5 of the Bankruptcy
                 Code, and any other entities and causes of action as the Trustee may so direct.


          2.     My professional credentials include:

                 I am an attorney-at-law duly admitted to practice before the courts in the State of
                 New Jersey. I am an attorney in the law firm of Perkins Coie LLP (“Perkins”).

          3.     I maintain offices for the practice of law at 1155 6th Avenue, 22nd Floor, New
                 York, New York 10036.




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         4.   The proposed arrangement for compensation, including range of hourly rates, if
              applicable, is as follows:

              Partners/Counsel         $730 and $995
              Associates               $510 and $565
              Paralegals               $245 and $265

         5.   To the best of my knowledge, after reasonable and diligent investigation, my
              connection with the debtor(s), creditors, any other party in interest, their
              respective attorneys and accountants, the United States trustee, or any person
              employed in the office of the United States trustee, is as follows:

              Describe connection: See #6
         6.   To the best of my knowledge, after reasonable and diligent investigation, the
              connection of my firm, its members, shareholders, partners, associates, officers
              and/or employees with the debtor(s), creditors, any other party in interest, their
              respective attorneys and accountants, the United States trustee, or any person
              employed in the office of the United States trustee, is as follows:

              None

              Describe connection:

              Perkins has no connection with the debtors and will file a supplemental
              disclosure, if necessary, should there will any connection between Perkins and
              any defendant to be named in an adversary proceeding in which Perkins will
              represent the Trustee.

              Due to the size and diversity of its practice, Perkins may have represented or
              otherwise dealt with, and may now be representing or otherwise dealing with
              various persons and or entities (and their attorneys and accountants) who are or
              may consider themselves creditors and/or parties-in-interest in these bankruptcy
              cases.

         7.   To the best of my knowledge, my firm, its members, shareholders, partners,
              associates, officers and/or employees and I (check all that apply):

              do not hold an adverse interest to the estate.


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                do not represent an adverse interest to the estate.

                are disinterested under 11 U.S.C. § 101(14).

                do not represent or hold any interest adverse to the debtor or the estate with
                respect to the matter for which I will be retained under 11 U.S.C. § 327(e).

                Other. Explain: ________________________________________________
                __________________________________________________________________

         8.     If the professional is an auctioneer,

                a.     A surety bond in accordance with D.N.J. LBR 2014-1(B)(2) is attached.

                       Yes           No

                b.     My qualifications and previous experience as an auctioneer include:
                __________________________________________________________________
                __________________________________________________________________

                c.      Have you or any member of your firm ever been convicted of any criminal
                offense, other than motor vehicle violations?   Yes        No

                If yes, explain:______________________________________________________

         9.     If the professional is an auctioneer, appraiser or realtor, the location and
                description of the property is as follows:
                __________________________________________________________________
                __________________________________________________________________

         I certify that the foregoing statements made by me are true. I am aware that if any of the
foregoing statements made by me are willfully false, I am subject to punishment.

Dated: Sepember 3, 2019                /s/ Jeffrey D. Vanacore
                                       Signature of Professional

                                       Jeffrey D. Vanacore
                                       Name of Professional




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